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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

 JACQUELINE FIORITO,                               )
    Plaintiff,                                     )
                                                   )
                     v.                            )         Case No. 1:17-cv-731
                                                   )
 METROPOLITAN AVIATION, et al.,                    )
    Defendants.                                    )

                                     MEMORANDUM OPINION

            After a now ended and tumultuous five-year period of employment, plaintiff brings this

 Title VII1 and Virginia common law employment discrimination action against her former

 employer and related entities. At issue now are two motions for summary judgment and a

 motion to consolidate: first, defendants (“Metropolitan Aviation”), Metropolitan Jets

 (“Metropolitan Jets”), and Alan Cook (“Cook”) seek partial summary judgment on all but one of

 plaintiff’s claims, namely plaintiff’s common law wrongful termination claim; second, defendant

 Metro Aire LLC’s (“Metro Aire”) seeks summary judgment on all six of plaintiff’s claims; and

 finally, all defendants move to consolidate this case with plaintiff’s husband’s case. As these

 motions have now been fully briefed and argued, the matter is now ripe for disposition.




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     42 U.S.C. § 2000e, et seq.

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                                                          I.2

          Plaintiff, Jacqueline Fiorito, is a resident of Virginia and the former Chief Operating

 Officer and Executive Vice President of defendant Metropolitan Aviation.                                 Defendant

 Metropolitan Aviation, a Virginia corporation, manages a fleet of privately owned jets available

 for charter worldwide. Defendant Cook is the founder, Chief Executive Officer and sole owner

 of Metropolitan Aviation, LLC and Metropolitan Jets. Defendant Metro Aire is a Virginia

 corporation that was formed on January 30, 2017. Michele Lanfrank, the sole member and

 owner of Metro Aire, explained that she started Metro Aire “to do something to extend the brand

 of Metropolitan Aviation to try to bring in revenue from other areas” and to provide a bank

 account where Metropolitan Aviation funds could be deposited. Lanfrank Dep. 5:1-13. This

 bank account was then used to store income generated from Metropolitan Aviation flights, to pay

 wages to Metropolitan Aviation employees, and to pay Metropolitan Aviation expenses for

 approximately six months. In August 2017, Metropolitan Aviation was able to open its own

 bank account, and shortly thereafter, Lanfrank made clear that Metro Aire stopped receiving and

 holding Metropolitan Aviation’s funds. Lanfrank testified that Metro Aire has been “basically

 inactive” since that time. Lanfrank Dep. 12:13-20.



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   The facts recited here are derived from the parties’ essential compliance with Local Rule 56(B) and the Rule 16(b)
 Scheduling Order. That Rule and Order require that a motion for summary judgment contain a separately captioned
 section listing in numbered-paragraph form all material facts as to which the movant contends no genuine dispute
 exists. See Jacqueline Fiorito v. Metropolitan Aviation, No. 1:17-cv-731 (E.D. Va. Mar. 7, 2018) (Order). The
 Local Rule and Scheduling Order further provide that the non-movant must include “a separately captioned section
 within the brief addressing, in numbered-paragraph form corresponding to the movant’s section, each of the
 movant’s enumerated facts and indicating whether the non-movant admits or disputes the fact with appropriate
 citations to the record.” Id. Finally, the Scheduling Order states that the “Court may assume that any fact identified
 by the movant as undisputed in the movant’s brief that is not specifically controverted in the non-movant’s brief in
 the manner set forth above is admitted for the purpose of deciding the motion for summary judgment.” Id. Both
 parties largely complied with these requirements: defendant submitted a separately captioned section of undisputed
 facts and plaintiff responded to defendants’ facts in her brief in opposition. Plaintiff, however, also identified
 additional contested facts in her opposition to defendant’s summary judgment motion. In sum, the following
 statement of facts is based largely on the parties’ statements of undisputed material facts and their respective
 responses. Disputed facts are noted and are either immaterial or are assumed in favor of the movant.

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        The events at issue here occurred after plaintiff began her employment with Metropolitan

 Aviation in 2011:

       During the first several years of plaintiff’s employment with Metropolitan Aviation,
        Plaintiff, who was estranged from her husband David Fiorito (“Mr. Fiorito”), became
        involved in an intimate consensual relationship with Cook.

       By 2014, Cook began harassing plaintiff by accusing her of having sexual relationships
        with other men, threatening her with termination, and calling her derogatory names.
        Plaintiff testified in her deposition that at this point, she began to distance herself from
        Cook by resisting his physical advances and voicing concerns about his behavior.

       Plaintiff also reported these incidents to Metropolitan Aviation’s Human Resources
        Director Penny Sax (“Sax”). For example, plaintiff reached out to Sax on September 22,
        2014, asking for help with Cook. In October 2014, after plaintiff and Cook had a verbal
        altercation at the Metropolitan Aviation office, plaintiff again reached out to Sax about
        Cook.

       The parties dispute exactly when and how the relationship between plaintiff and Cook
        ended. At her deposition, plaintiff testified that in January 2015, she “agreeably
        terminated” her relationship with Cook and that at that time, the two agreed to move
        forward without a physical relationship. Pl. Jan. 11, 2018 Dep. 71:4-13. At the same
        time, the record also discloses that plaintiff’s and Cook’s personal relationship continued
        in some capacity throughout 2015. For example, in 2015, plaintiff asked Cook to move
        into her home, invited him over to meals and for weekend stays, and went on a vacation
        to the Bahamas with him.

       On January 15, 2015, plaintiff emailed Sax, telling Sax that plaintiff was enduring abuse
        in the workplace and requesting that Human Resources investigate her allegations and
        help to rectify the issues.

       In February 2015, Cook accused plaintiff of having an affair with another employee, and
        threatened to fire any employee who helped plaintiff at work. On February 11, 2015,
        Cook threatened to terminate plaintiff after plaintiff accepted food from a colleague.
        Plaintiff reported this incident to Sax and Cook on February 13, 2015.

       Later that month, in February 2015, plaintiff met Cook for dinner, at which point Cook
        verbally assaulted plaintiff and expressed a desire to harm her.

       On March 4, 2015, Cook came to believe that plaintiff had encouraged Metropolitan
        Aviation clients to withdraw their money from Metropolitan Aviation’s accounts. Cook
        subsequently sent Mr. Fiorito a text message, suggesting that both plaintiff and Mr.
        Fiorito find new jobs.



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       That same day, on March 4, 2015, plaintiff testified that Cook “charg[ed] at [plaintiff]
        towards [her desk],” told plaintiff that she “ruined [Cook] and his company,” “accus[ed]
        [plaintiff] of . . . a sexual relationship with [another employee]” and claimed that a client
        asked for money back because of plaintiff. Pl. May 15, 2018 Dep. 110:13-111:3.
        Plaintiff testified that she was “forced out of the building” and left work as result. Id. at
        110:20.

       Before leaving the office, plaintiff wrote an email to Sax stating that plaintiff had “filed a
        concern with the company a few weeks ago” and asking human resources to become
        involved in the situation. Mar. 4, 2015 Email from Plaintiff to Sax.

       The parties dispute whether Cook permanently terminated plaintiff and Mr. Fiorito during
        this incident on March 4, 2015. On the one hand, plaintiff testified in her deposition that
        at some point in March 2015, plaintiff was “terminated.” Pl. May 15, 2018 Dep. 142:3-9.
        Plaintiff also sent (i) an email on May 8, 2015 referring to her “severance agreement”
        with Metropolitan Aviation and (ii) an email on June 15, 2015 stating that she was
        “aggressively and wrongfully terminated on March 3rd along with [Mr. Fiorito]” and that
        after that point, plaintiff “agreed to try helping the company . . . NOT as an employee.”
        June 15, 2015 Email from Plaintiff to Cook. Sax also testified that it was her
        understanding that the Fioritos were permanently terminated from Metropolitan Aviation
        on March 4, 201. Sax Dep. 199:25-200:5. On the other hand, plaintiff also testified that
        “[n]o formal written notice of termination was ever sent out,” Pl. May 15, 2018 Dep.
        142:3-9. And, on March 8, 2015, four days after the alleged termination, Cook instructed
        Sax to reroute emails and phone numbers back to the Fioritos. Metropolitan Aviation
        also continued to pay both Fioritos for work performed following March 2015, and Sax
        testified that employees were frequently fired at Metropolitan Aviation despite the fact
        that Cook did not intend to terminate the employees permanently.

       In May 2015, Cook called plaintiff while drunk and verbally attacked her, calling her
        derogatory names, and accusing her of ruining his company.

       In the summer of 2015, Cook drove by the Fioritos’ house on several occasions and
        arrived uninvited to the Fioritos’ son’s baseball games.

       On June 16, 2015, Cook went to the Fioritos’ home while drunk and attacked Mr. Fiorito.
        Plaintiff fractured her wrist when she tried to break up the fight between the two men.

       Around August or September 2015, Cook apologized to the Fioritos and asked them to
        return to work full time at the Metropolitan Aviation office. Both Fioritos then returned
        to work at the company in September 2015.

       In September 2015, Cook, plaintiff, and several other employees attended a business trip
        in Cancun, and Cook forced plaintiff to share a room with him. One night, Cook grabbed
        plaintiff’s phone, threw her phone, accused her of having affairs with other men, and
        called her derogatory names. Plaintiff fled to her coworker, Kelly Murphy’s (“Murphy”),
        hotel room and Cook followed. Plaintiff’s coworker texted Mr. Fiorito and told him that

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        Cook was pounding on the coworker’s door and “cussing [plaintiff] out all done [sic] the
        hall.” Sept. 21, 2015 Text Message from Murphy to Mr. Fiorito.

       In December 2015, plaintiff testified that Cook pressured plaintiff to go to his house and
        then pressured plaintiff to have sex with him. Plaintiff’s coworker Trent Riley (“Riley”)
        also observed plaintiff rebuff Cook’s physical advances at a holiday party at which point
        Cook told plaintiff’s coworkers that plaintiff was a “w***e.” Riley Decl. ¶ 7.

       On January 7, 2016, plaintiff testified that Cook said he would kill plaintiff if plaintiff
        came into his house, and that later Cook vomited in plaintiff’s driveway and told plaintiff
        that she might not survive their relationship.

       Also in January 2016, plaintiff hired Michele Lanfrank (“Lanfrank”) as a contractor to
        improve Metropolitan Aviation’s brand through Facebook and other social media posts.

       In early February 2016, plaintiff and Lanfrank began having disputes over work-related
        matters.

       On February 2, 2016, plaintiff complained to Cook about his treatment of plaintiff in the
        workplace.

       On February 4, 2016, Mr. Fiorito sent plaintiff a text message, expressing his concern
        that plaintiff was “going to get [the couple] fired Again.” Feb. 4, 2016 Text Message
        from Mr. Fiorito to Plaintiff.

       As of February 7, 2016, plaintiff wanted Metropolitan Aviation to terminate Lanfrank.

       On February 8, 2016, plaintiff was locked out of a Metropolitan Aviation computer
        system.

       Around the same time, in early February 2016, plaintiff began a medical leave of absence
        from Metropolitan Aviation.

       By mid-February, plaintiff learned that Cook and Lanfrank were involved in a romantic
        relationship.

       On February 14, 2016, plaintiff texted Cook that she loved Cook, believed in Cook, and
        was thankful to have Cook in her life. Feb. 14, 2016 Text Message from Plaintiff to
        Cook. Two days later, plaintiff asked Cook to go to a spa for a day and to go skiing.
        Plaintiff testified that she sent these text messages to Cook as a means to protect herself
        from Cook.

       Between February 11 and February 14, 2016, plaintiff sent Cook a series of text messages
        telling Cook that he did not need Lanfrank, that the company did not owe Lanfrank
        anything, that Lanfrank had a negative impact on the company, and that Lanfrank was a
        sociopath.

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       By February 19, 2016, plaintiff was stripped of her ability to access email, and locked out
        of the Metropolitan Aviation building. Around February 23, 2016, plaintiff also learned
        that Metropolitan Aviation would not be paying her going forward.

       Around the same time, in late February 2016, plaintiff sent a series of text messages to
        Cook about Metropolitan Aviation and Lanfrank, asking Cook to “get away from
        [Lanfrank],” and accusing Cook of choosing Lanfrank over plaintiff. Feb. 26-27, 2016
        Text Messages from Plaintiff to Cook.

       In early March 2016, plaintiff published a series of Facebook posts about Metropolitan
        Aviation generally and about Lanfrank in particular. For example, on March 2, 2016,
        plaintiff called Lanfrank a “vile, toxic, coke addict, desperate sex-for-money w****.”
        Plaintiff Mar. 2, 2016 Facebook Post.

       On March 7, 2016, Cook directed Melanie McCormack (“McCormack”), a Human
        Resources and Office Management employee at Metropolitan Aviation, to prepare
        termination letters for plaintiff, Mr. Fiorito, and Murphy. Plaintiff’s draft termination
        letter explained that Cook was terminating plaintiff because her “constant texting, calling,
        emailing, and posting on social media sites negative comments about the company and
        its’ employees put[] the entire company at risk … .” McCormack Draft Termination
        Letter for Plaintiff.

       On March 8, 2016, Cook texted Mr. Fiorito and told Mr. Fiorito that plaintiff had
        threatened to come into the office, causing employees to leave the office. Cook informed
        Mr. Fiorito that Cook was terminating plaintiff and planning to get a court order “to stop
        her rants to our staff and social media.” Mar. 8, 2016 Text Message from Cook to Mr.
        Fiorito.

       The next day, on March 9, 2016, Cook sent plaintiff a formal termination letter via
        Federal Express. Plaintiff received the letter on March 10, 2016.

        On July 13, 2016, plaintiff filed a charge with the Equal Employment Opportunity

 Commission (“EEOC”), alleging that she was terminated in violation of Title VII. On June 26,

 2017, plaintiff and Mr. Fiorito, represented by the same counsel, brought separate actions, both

 asserting claims under Title VII. In his complaint, Mr. Fiorito asserted one claim of retaliation in

 violation of Title VII against Metropolitan Aviation. In her amended complaint, plaintiff asserts

 the six claims at issue here: (i) a Title VII hostile work environment claim against Metropolitan

 Aviation, Metropolitan Jets, and Metro Aire (ii) a Title VII retaliation claim against Metropolitan


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 Aviation, Metropolitan Jets, and Metro Aire, (iii) a common law wrongful termination claim

 against all defendants, (iv) a common law negligence claim against all defendants, (v) a common

 law negligent hiring and retention claim against Metropolitan Aviation, Metropolitan Jets, and

 Metro Aire, and (vi) a common law intentional infliction of emotional distress claim against all

 defendants.

            On May 29, 2018, defendants filed the two motions for summary judgment at issue here.

 Defendants Metropolitan Aviation, Metropolitan Jets, and Cook filed a motion for partial

 summary judgment on plaintiff’s hostile work environment, retaliation, negligence, negligent

 hiring and retention, and intentional infliction of emotional distress claims.         Specifically,

 defendants Metropolitan Aviation, Metropolitan Jets, and Cook contend (i) that portions of

 plaintiff’s hostile work environment claim are barred by the statutory limitations period and the

 doctrine of laches, (ii) that plaintiff’s retaliation claim fails because the record reveals that

 plaintiff’s protected activity was not the but-for cause of her termination, (iii) that plaintiff’s

 negligence and intentional infliction of emotional distress claims fail because they are displaced

 by the Virginia Human Rights Act (“VHRA”)3 and the Virginia Workers Compensation Act

 (“VWCA”),4 and (iv) that plaintiff’s negligent retention claim fails because the tort of negligent

 retention is inapplicable where, as here, the employee at issue is the sole owner of the company.

 Plaintiff opposes this motion, arguing (i) that the entirety of plaintiff’s hostile work environment

 claim is timely under the continuing violations doctrine, (ii) that the VHRA and the VWCA do

 not displace negligence and intentional infliction of emotional distress claims, and (iii) that

 negligent retention claims can survive against a single member limited liability company.

 Plaintiff has also filed two Rule 56(d), Fed. R. Civ. P., affidavits, averring that additional

 3
     Va. Code. § 2.2-3903(D).
 4
     Va. Code § 65.2-101.

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 discovery of text message communications between Cook and Lanfrank will reveal that Cook’s

 stated reason for terminating plaintiff is pretext for retaliation.

         Defendant Metro Aire filed a separate motion for summary judgment with respect to all

 of plaintiff’s claims, arguing that Metro Aire cannot be held liable because Metro Aire and

 Metropolitan Aviation are not part of an integrated enterprise. Finally, all defendants also jointly

 filed a motion to consolidate this case with that of plaintiff’s husband, Mr. Fiorito.

                                                    II.

         The standard of review on motions for summary judgment is too well-settled to warrant

 extensive discussion. Under Rule 56, Fed. R. Civ. P., summary judgment is appropriate only

 where there is “no genuine dispute as to any material fact” such that the moving party “is entitled

 to judgment as a matter of law.” Celotex v. Catrett, 477 U.S. 317, 322 (1986). A genuine dispute

 exists if “there is sufficient evidence on which a reasonable jury could return a verdict in favor of

 the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In evaluating

 this question, courts must “view the evidence in the light most favorable to . . . the nonmovant.”

 Dennis v. Columbia Colleton Med. Ctr., Inc., 290 F.3d 639, 645 (4th Cir. 2002).                 The

 nonmovant, however, cannot rely on “mere allegations;” rather, the nonmovant “must set forth

 specific facts that go beyond the mere existence of a scintilla of evidence.” Glynn v. EDO Corp.,

 710 F.3d 209, 213 (4th Cir. 2013) (internal quotations and citations omitted).

                                                   III.

         Defendants Metropolitan Aviation, Metropolitan Jets, and Cook moved for summary

 judgment with respect to plaintiff’s hostile work environment, retaliation, negligence, intentional

 infliction of emotional distress, and negligent hiring and retention. Each of these claims is

 addressed in turn.



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                                                A.

        With respect to plaintiff’s hostile work environment claim, defendants do not dispute that

 plaintiff has adduced evidence in support of the existence of a hostile work environment.

 Instead, defendants argue that plaintiff cannot use evidence of defendant Cook’s conduct prior to

 March 2015 to support her claim because (i) this conduct falls outside the statutory limitations

 period, and (ii) even assuming this conduct was not time-barred, the doctrine of laches prevents

 plaintiff from relying on this evidence.

                                                 1.

        To begin with, the parties agree that the relevant statutory limitations period in this case

 is 300 days—that is, for a claim to be timely, the plaintiff must have filed a charge with the

 EEOC within 300 days of the allegedly discriminatory action. Defendants argue that much of

 the conduct plaintiff alleges in support of her hostile work environment claim occurred prior to

 March 2015, more than 300 days before plaintiff filed her EEOC charge, and as such, that

 conduct is time-barred. Defendants’ argument in this regard is unpersuasive. The Supreme

 Court has made clear that where, as here, a plaintiff asserts a hostile work environment claim,

 “the entire time period of the hostile environment may be considered by a court for the purposes

 of determining liability” provided that “an act contributing to the claim occurs within the filing

 period.”   Nat’l R&R Passenger Corp. v. Morgan, 536 U.S. 101, 117 (2002).              Here, it is

 undisputed that acts contributing to plaintiff’s hostile work environment claim occurred within

 the relevant limitations period as plaintiff has adduced evidence that Cook harassed her

 throughout January and February 2016. And importantly, it is clear that this timely conduct is

 adequately linked to the allegedly discriminatory conduct that occurred outside the applicable

 statutory limitations period. Cook’s allegedly harassing conduct—both prior to and following



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 March 2015—involved the same type of employment actions—physical and verbal attacks,

 stalking, accusations related to plaintiff’s sexual conduct, and threats of termination.     The

 harassing conduct also occurred relatively frequently, and significantly, was perpetrated by the

 same individual—Cook. Accordingly, plaintiff is entitled to rely on evidence of Cook’s conduct

 prior to March 2015 in support of her hostile work environment claim.

        Defendants attempt to avoid this conclusion by arguing that plaintiff was terminated in

 March 2015 and that this termination was an intervening discrete act that severed the continuing

 nature of the hostile work environment at issue here. This argument fails to persuade. To begin

 with, the record reveals a genuine dispute of material fact as to whether plaintiff was, in fact,

 terminated in March 2015. On the one hand, plaintiff testified in her deposition that she was

 terminated at some point in March 2015 and referred to her March termination in emails to

 Metropolitan Aviation employees. See Pl. May 15, 2018 Dep. 142:3-9; June 15, 2015 Email

 from plaintiff to Cook.    On the other hand, plaintiff continued to receive payment from

 Metropolitan Aviation, continued to work for Metropolitan Aviation, and received access to her

 email account again just shortly after the alleged termination. Mr. Fiorito Dep. 73:7-22; Mar. 8,

 2015 Email from Cook to Plaintiff. And even assuming, arguendo, that plaintiff was terminated

 in March 2015, any such termination is distinguishable from those intervening actions that courts

 have found sufficient to sever hostile work environment claims. Specifically, courts of appeals

 have uniformly found that intervening actions only sever continuing violations where the

 intervening actions are remedial efforts that bring an end to harassment. See, e.g., Stewart v.

 Miss. Transp. Com’n, 586 F. 3d 321, 329 (5th Cir. 2009) (holding that employer’s reassignment

 of employee away from harassing supervisor constituted intervening action sufficient to sever




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 periods of harassment because harassment ended for period of sixteen months).5 By contrast, the

 undisputed factual record in this case reveals that Cook’s alleged termination of plaintiff in

 March 2015 was not a remedial effort to halt harassment, but rather was Cook’s attempt to

 punish plaintiff for allegedly encouraging clients to leave Metropolitan Aviation and for having a

 sexual relationship with another employee. See Pl. Dep. 110:13-111:3. And importantly, Cook’s

 alleged termination of plaintiff did not end the harassment—Cook continued to stalk and to

 harass plaintiff following plaintiff’s termination while she worked remotely for Metropolitan

 Aviation. As such, the record makes pellucid that the alleged termination in March 2015 was not

 the sort of intervening action that would sever an otherwise continuing hostile work

 environment.

         In sum, it is clear that Cook’s conduct prior to March 2015 contributed to the same

 hostile work environment as the harassing conduct that occurred throughout early 2016. Given

 that plaintiff timely filed her EEOC charge with respect to these acts occurring in early 2016,

 “the entire time period of the hostile environment may be considered by a court for the purposes

 of determining liability.” Morgan, 536 U.S. at 117.

                                                         2.

         Defendants next argue that the doctrine of laches partially bars plaintiff’s hostile work

 environment claim. To prevail on a laches defense, defendants must prove “(1) lack of diligence

 by the party against whom the defense is asserted, and (2) prejudice to the party asserting the

 defense.”     Id. at 121-22.      Defendants contend that plaintiff failed to exercise diligence in



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   See also, e.g., Vickers v. Powell, 493 F.3d 186, 199 (D.C. Cir. 2007) (holding that change in management was not
 intervening action sufficient to sever continuing violation because the change in management was not “in any way
 intended to address the environment created by [the supervisor’s] alleged improprieties”); Watson v. Blue Circle
 Inc., 324 F.3d 1252, 1258 (11th Cir. 2003) (holding that intervening action by employer was sufficient to sever
 claim where employers investigated plaintiff’s allegations, took remedial action, and thereafter, plaintiff did not
 have problems with the alleged harasser).

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 pursuing her claim because she did not file a charge of discrimination in March 2015 even

 though she had already consulted attorneys and believed at the time that Cook’s behavior toward

 her was discriminatory. Defendants argue that this delay has prejudiced defendants because

 witnesses such as Sax and Mr. Fiorito cannot clearly remember all the events at issue and

 because the parties have not retained all potentially relevant evidence from this time period.

         Defendants have not satisfied their burden of demonstrating that plaintiff unreasonably

 delayed the filing of her EEOC charge and that defendants were prejudiced by that delay.

 Plaintiff’s delay of a little more than one year is significantly shorter than the delays that courts

 have found unreasonable. See, e.g., Pruitt v. City of Chicago, 472 F.3d 925, 927 (7th Cir. 2006)

 (holding that plaintiff could not seek redress for 20 years of harassment). 6 Indeed, at least one

 court in the Eastern District of Virginia has found that a delay of two-and-a-half years was not

 sufficient to entitle the defendant to summary judgment on a laches defense. See Brink v.

 McDonald, 2015 WL 1731476, at *5-6 (E.D. Va. Apr. 14, 2015). Although there is no per se

 rule regarding what constitutes unreasonable delay, courts have made clear that where, as here,

 the delay is relatively short, the defendant must make a fairly strong showing of prejudice to

 warrant entry of judgment with respect to a laches defense. Smith, 338 F.3d at 734 (“[I]n general

 the decision to apply the doctrine of laches lies on a sliding scale: the longer the plaintiff delays

 in filing her claim, the less prejudice the defendant must show in order to defend on laches.”).

         Defendants here have failed to make such a strong showing of prejudice resulting from

 plaintiff’s little more than one year delay. Although Sax and Mr. Fiorito could not remember

 some specific facts regarding what occurred in 2014 and early 2015, each witness was able to

 provide several hours’ worth of deposition testimony and to produce documents for both parties.


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  See also Smith v. Caterpillar, Inc., 338 F.3d 730, 734 (7th Cir. 2003) (holding that period of eight years was
 unreasonable delay).

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 Moreover, defendants’ argument regarding the lack of text message evidence from 2014 and

 2015 is unpersuasive. Defendant Cook, himself, failed to retain text messages from 2016, 2017,

 and 2018, well after Cook was on notice of the case. To countenance defendants’ view that the

 absence of text message evidence from a particular time period is so prejudicial as to warrant

 dismissal of claims regarding that time period would thus necessarily require dismissal of

 plaintiff’s claims 2016, 2017, and 2018 as well. Dismissal, however, is plainly unwarranted

 given the countless other sources of evidence, including witness depositions and emails.

        Given that defendants have failed to carry their burden of showing that plaintiff

 unreasonably delayed the filing of her EEOC charge and that defendants were prejudiced by that

 delay, defendants’ motion for summary judgment on a laches defense must also be denied.

                                                 B.

        Defendants’ also moved for summary judgment on plaintiff’s retaliation claim, arguing

 that plaintiff has not adduced evidence establishing that she was terminated in retaliation for her

 protected activity. In response to defendants’ motion, plaintiff filed two Rule 56(d), Fed. R. Civ.

 P., affidavits in which her counsel avers that additional discovery is needed for plaintiff to

 oppose defendants’ motion for summary judgment with respect to this claim. Specifically, on

 June 8, 2018, plaintiff filed a motion to reopen discovery to seek documents and a deposition of

 defendants’ outside technology consultant regarding text message communications between

 Lanfrank and Cook. In this June 8 motion, plaintiff indicated her belief that this additional

 discovery would reveal evidence demonstrating that Cook and Lanfrank discussed the true

 reason for plaintiff’s termination, namely retaliation, and that Cook allowed his communications

 to be destroyed despite knowing that he was obligated to retain the communications. On June

 15, 2018, a magistrate judge granted plaintiff’s motion to reopen discovery to allow plaintiff to



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 subpoena the outside technology consultant regarding Cook and Lanfrank’s communications. At

 this time, plaintiff has taken a deposition of a corporate representative of the outside consultant,

 who indicated that she had access to additional text messages between Cook and Lanfrank.

 Plaintiff has received some, but not all, of these additional text message exchanges between

 Cook and Lanfrank.

        Rule 56(d) allows courts to deny a motion for summary judgment where “a nonmovant

 shows by affidavit or declaration that, for specified reasons, it cannot present facts essential to

 justify its opposition … .” Rule 56(d), Fed. R. Civ. P. The nonmovant here, plaintiff, has done

 just this, indicating that defendants have yet to produce relevant text message conversations

 between Cook and Lanfrank that might reveal direct evidence that Cook terminated plaintiff in

 retaliation for her protected activity. These text messages could also suggest that defendants’

 proffered reason for plaintiff’s termination—namely, plaintiff’s texts and posts on social

 media—is pretextual; that is, text messages could reveal that Cook and Lanfrank discussed

 terminating plaintiff before plaintiff began posting on social media about Metropolitan Aviation.

 Because these additional text messages might reveal evidence that would affect disposition of the

 pending summary judgment motion with respect to plaintiff’s retaliation claim, it is appropriate

 to deny defendants’ motion at this time.

                                                 C.

        Plaintiff’s negligence and intentional infliction of emotional distress claims survive

 because, contrary to defendants’ suggestion, these claims are not displaced by either the VHRA

 or the VWCA.




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                                                 1.

        The VHRA, like Title VII, prohibits discrimination against employees on the basis of

 protected characteristics, including gender. Specifically, the VHRA states that:

        It is the policy of the Commonwealth to (1) safeguard all individuals within the
        Commonwealth from unlawful discrimination . . . in employment; preserve the public
        safety, health and general welfare; and further the interests, rights and privileges of
        individuals within the Commonwealth; and (2) protect citizens of the Commonwealth
        against unfounded charges of unlawful discrimination.

 Va. Code § 2.2-3900(B). The VHRA further provides that “[c]auses of action based upon the

 public policies reflected in this chapter shall be exclusively limited to those actions, procedures

 and remedies, if any, afforded by applicable federal or state civil rights statutes or local

 ordinances. Id. § 2.2-3903(D).

        The Supreme Court of Virginia has addressed the meaning of this provision of the VHRA

 in two contexts. In 1999, the Supreme Court of Virginia considered whether this provision bars

 wrongful termination claims based on a public policy that is reflected in the VHRA where a

 plaintiff cites to a different Virginia Code section that embodies the same policy. The Supreme

 Court of Virginia affirmed dismissal of the action, concluding that the VHRA “eliminated a

 common law cause of action for wrongful termination based on any public policy which is

 reflected in the VHRA, regardless of whether the policy is articulated elsewhere.” Conner v.

 Nat’l Pest Control Ass’n, 257 Va. 286, 290 (1999). The next year, in 2000, the Supreme Court

 of Virginia addressed the related question whether the VHRA bars causes of action based on

 conduct that not only violates a policy embodied in the VHRA but also violates a different policy

 embodied elsewhere. In this context, the Supreme Court of Virginia held that the VHRA “does

 not prohibit a common law cause of action for wrongful termination based on public policies . . .

 that are not reflected in the VHRA” even where the conduct that is the basis for the cause of



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 action also violates policies reflected in the VHRA. Mitchem v. Counts, 259 Va. 179, 187

 (2000), abrogated on other grounds by Robinson v. Salvation Army, 292 Va. 666 (2016). In

 other words, these cases make clear that where a cause of action relies on a violation of a public

 policy reflected in the VHRA, the cause of action is barred. By contrast, if the cause of action or

 theory of recovery relies on the violation of a public policy not reflected in the VHRA, that cause

 of action survives even if the conduct at issue also violates a policy embodied in the VHRA.

        These principles, applied here, point persuasively to the conclusion that plaintiff’s

 negligence and intentional infliction of emotional distress claims are not displaced by the VHRA,

 and as such, defendants’ motion for summary judgment in this regard fails. As in Mitchem,

 plaintiff’s negligence and intentional infliction of emotional distress claims do not rely on the

 principles prohibiting unlawful discrimination in the VHRA; rather, plaintiff’s claims rely on

 common law principles—the employer’s duty to warn and respondeat superior—that are

 separate and distinct from the VHRA’s anti-discrimination policies. Specifically, plaintiff’s

 negligence claim relies on the common law duty of defendants, as employers, to protect or warn

 employees against the criminal conduct of a third party. See A.H. v. Rockingham Pub. Co., Inc.,

 255 Va. 216, 220 (1998) (explaining that in some circumstances, employers have a “duty of

 protecting or warning an employee” with regard to the conduct of third persons). Plaintiff’s

 intentional infliction of emotional distress claim relies on the common law principle of

 respondeat superior, which provides that an employer may be held liable “for the tortious act of

 his employee if the employee was performing his employer’s business and acting within the

 scope of his employment.” Kensington Assocs. v. West, 234 Va. 430, 432 (1987) (citing McNeill

 v. Spindler, 191 Va. 685, 694 (1950)). Because these principles relating to an employer’s duties

 to its employees and liability for its employees’ actions are not reflected in the VHRA and have



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 nothing to do with discrimination, plaintiff’s claims based on these principles are not displaced

 by the VHRA. See Collins v. Franklin, 142 F. Supp. 2d 749, 751 (W.D. Va. 2000) (rejecting

 argument that plaintiff’s intentional infliction of emotional distress claim was preempted by

 VHRA because the claim was based on policies not reflected in the VHRA).

        In an attempt to avoid this conclusion, defendants cite to Jackson v. Liberty Univ., 2017

 WL 3326972, at * 25 (W.D. Va. Aug. 3, 2017).             But defendants’ reliance on Jackson is

 unavailing; that case is inapposite because the plaintiff there explicitly relied on the VHRA to

 identify the source of the duty of care owed by the defendant. Put differently, the VHRA’s

 policies were essential to the plaintiff’s negligence claim in Jackson. Here, by contrast, plaintiff

 need not rely on the VHRA because plaintiff alleges that defendants’ conduct violated common

 law principles, separate and distinct from the anti-discrimination policies embodied in the

 VHRA. Accordingly, plaintiff’s negligence and intentional infliction of emotional distress

 claims are not displaced by the VHRA.

                                                  2.

        Defendants next argue that plaintiff’s negligence claim is displaced by the VWCA. The

 VWCA provides exclusive remedies for employees who suffer an “injury by accident arising out

 of and in course of the employment.” Va. Code § 65.2-101. In describing injuries covered by

 the VWCA, the Supreme Court of Virginia has made clear that the cause of the injury in question

 must be “an identifiable incident or sudden precipitating event . . . that resulted in an obvious

 sudden mechanical or structural change in the body.” Morris v. Morris, 238 Va. 578, 589

 (1989) (citing Lane Co., Inc. v. Saunders, 229 Va. 196 (1985)). In this regard, the Supreme

 Court of Virginia has explained that “injuries resulting from repetitive trauma, continuing mental




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 or physical stress, or other cumulative events . . . are not ‘injuries by accident’ within the

 meaning of Code Sec. 65.1-7.” Id.

        These principles, applied here, make clear that plaintiff’s negligence claim is not

 displaced by the VWCA. The undisputed factual record here reflects that plaintiff’s injuries

 were the result of repetitive trauma, continuing mental and physical stress, and cumulative abuse,

 not a sudden precipitating event. Accordingly, plaintiff’s injuries are not “injur[ies] by accident”

 within the meaning of the VWCA and are not displaced.

        In sum, plaintiff’s negligence and intentional infliction of emotional distress claims

 survive because they are not based on policies reflected in the VHRA and do not arise out of

 “injur[ies] by accident” within the meaning of the VWCA.

                                                 D.

        Next, defendants contend that plaintiff’s negligent retention claim cannot survive

 summary judgment because (i) a limited liability corporation cannot be held liable for negligent

 retaining its sole member, and (ii) plaintiff has not adduced evidence that she suffered any

 physical injury as a result of Cook’s conduct. Defendants’ arguments fail in both respects.

                                                  1.

        It is well-settled that Virginia law recognizes an independent cause of action for negligent

 retention of employees based on the principle “that an employer . . . is subject to liability for

 harm resulting from the employer’s negligence in retaining a dangerous employee who the

 employer knew or should have known was dangerous and likely to harm others.” Se. Apartments

 Mgmt., Inc. v. Jackman, 257 Va. 256, 260-61 (1999). Defendants argue that plaintiff’s negligent

 retention claim must fail as a matter of law because Cook is the sole owner of Metropolitan




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 Aviation and Metropolitan Jets, and as such, Metropolitan Aviation and Metropolitan Jets cannot

 be held liable for failing to fire Cook.

         Defendants’ argument ultimately fails to persuade. To begin with, defendants point to no

 Supreme Court of Virginia authority purporting to preclude the application of the negligent

 retention cause of action to limited liability companies with sole owners or members. Instead,

 defendant cites to Glover v. Oppelman, 178 F. Supp. 2d 622, 644 (W.D. Va. 2001), a Western

 District of Virginia case in which the court granted the defendant there summary judgment on

 the plaintiff’s negligent retention claim because the defendant was the sole general partner of a

 limited partnership.    The Glover court reasoned that the tort of negligent retention “is a

 mechanism for imputing liability to an employer who conducts business through a dangerous

 employee” but that where the tortfeasor is the sole member of the employer, “there is no policy

 need to resort to this legal mechanism to ‘get to’ the employer.” Id. Moreover, the Glover court

 expressed concern that to allow a sole general manager of a partnership to be held liable for

 failing to fire himself “would open the door to negligent retention claims against sole proprietors

 who manage business themselves instead of hiring outside managers.” Id.

         Yet importantly, other courts have expressly declined to hold that “solely-owned

 corporation[s] [are] exempt from a state-law negligent retention claim because [they are] owned

 by the tortfeasor.” Terrell v. OTS Inc., 2011 WL 2619080, at *1 (N.D. Ga. July 1, 2011). These

 courts have reasoned that where an individual makes the decision to shield his personal assets

 from the corporation and the corporation’s assets from himself by incorporating the corporation,

 he creates two distinct legal entities, and the corporation, as a distinct legal entity, can be held

 liable for negligently retaining its member. Id.     To exempt the corporation from liability for

 negligent retention “would effectively shield a corporation from a state-law claim when the tort-



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 causing owner/employee refuses to control his or her own conduct and hire an outside manager.”

 Id.

        In the end, there are policy reasons supporting each approach, but because no Virginia

 court has carved out an exception to negligent retention claims for single member limited

 liability corporations, it is inappropriate to extend state law do so here. See, e.g., Burris Chem.,

 Inc. v. USX Corp., 10 F.3d 243, 247 (4th Cir. 1993) (“Under [Erie], the federal courts sitting in

 diversity rule upon state law as it exists and do not surmise or suggest its expansion.”).

 Accordingly, defendants’ summary judgment on this ground must be denied.

                                                  2.

        Alternatively, defendants contend that they are entitled to judgment as a matter of law on

 plaintiff’s negligent retention claim because plaintiff has failed to adduce any evidence of

 physical injury. Defendants correctly note that courts have required proof of physical injury to

 support a cause of action for negligent retention.      See, e.g., Wolf v. Fauquier Cty. Bd. of

 Supervisors, 555 F.3d 311, 320 (4th Cir. 2000). But defendants mischaracterize the nature of the

 factual record here when they assert that plaintiff has not adduced any evidence of physical

 injury. Contrary to defendants’ assertions, plaintiff has testified that defendant Cook, in addition

 to calling her names and verbally abusing her, also physically assaulted her on numerous

 occasions. For example, plaintiff testified that in June 2015, Cook went to the Fioritos’ home

 inebriated and attacked Mr. Fiorito, and plaintiff testified that she fractured her wrist when she

 tried to break up the fight between the two men. Pl. Jan. 11, 2018 Dep. 177:11-180:6. Plaintiff

 also testified that in December 2015, Cook coerced plaintiff into having sexual intercourse with

 him even though Plaintiff did not want to consent.         See id. at 169:6-171:9. And finally,

 plaintiff’s co-worker Trent Riley averred that he witnessed Cook grabbing plaintiff by the arm at



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 work on at least two occasions in 2015 and early 2016. Riley Decl. ¶ 6. Because there is record

 evidence suggesting that plaintiff suffered physical injuries as a result of Cook’s conduct,

 defendants’ motion for summary judgment in this regard must be denied.

                                                 E.

        In sum, defendant Metropolitan Aviation, Metropolitan Jets, and Cook’s partial motion

 for summary judgment must be denied because (i) defendant Cook’s conduct prior to March

 2015 is properly considered as part of plaintiff’s continuing hostile work environment, (ii)

 discovery of Cook and Lanfrank’s text messages might reveal additional evidence that Cook’s

 stated reason for terminating plaintiff is pretext for retaliation, (iii) neither the VHRA nor the

 VWCA displaces plaintiff’s intentional infliction of emotional distress and negligence claims,

 and (iv) there is no Virginia law supporting the notion that defendants cannot be held liable for

 negligent retaining Cook as the sole member of a limited liability corporation.

                                                IV.

        Plaintiff asserts the same six Title VII and Virginia law claims against Metro Aire under

 an integrated enterprise or single employer theory of liability. Defendant Metro Aire separately

 moves for summary judgment on each of these claims, arguing that plaintiff has failed to adduce

 evidence that Metro Aire and Metropolitan Aviation constitute an integrated enterprise.

        An integrated enterprise theory of liability may be invoked by an employee

        who is technically employed on the books of one entity, which is deemed to be part of a
        large ‘single-employer’ entity, [to] impose liability for certain violations of employment
        law not only on the nominal employer but also on another entity comprising part of the
        single integrated enterprise.

 Wright v. Mountain View Lawn Care, LLC, 2016 WL 1060341, at *21 (W.D. Va. Mar. 11,

 2016). In determining whether an integrated enterprise exists, courts generally consider the

 following factors: “(1) common management; (2) interrelation between operations; (3)

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 centralized control of labor relations; and (4) degree of common ownership/financial control.”

 Hukill v. Auto Care, Inc., 192 F.3d 437, 442 (4th Cir. 1999), abrogation on other grounds

 recognized by Butler v. Drive Auto. Indus. of Am., Inc., 793 F.3d 404 (4th Cir. 2015). At the

 same time, the Fourth Circuit has recognized that courts “need not adopt such a mechanical test

 in every instance”7 as the fundamental purpose of the test is to help courts “determine what entity

 made the final decisions regarding employment matters related to the person claiming

 discrimination.” Hukill, 192 F.3d at 442 (quoting Trevino v. Celanese Corp., 701 F.2d 397, 404

 (5th Cir. 1983)).

            These principles, applied here, point persuasively to the conclusion that Metro Aire and

 Metropolitan Aviation are not an integrated enterprise for the purposes of plaintiff’s employment

 discrimination claims. To be sure, the undisputed factual record reveals that Metro Aire and

 Metropolitan Aviation have interrelated operations and overlapping employees—Metro Aire has

 served as a “conduit” helping Metropolitan Aviation make connections with potential clients,

 Metropolitan Aviation has deposited funds in Metro Aire’s bank accounts, and Lanfrank, a

 former employee of Metropolitan Aviation, is the sole member and owner of Metro Aire. But

 these factors are not controlling here because significantly, Metro Aire did not exist until January

 2017, almost one year after the last of the allegedly discriminatory acts against plaintiff occurred.

 Given that Metro Aire did not exist at the time plaintiff was subject to discrimination, it cannot

 seriously be argued that Metro Aire “made the final decisions regarding employment matters

 related to [plaintiff].” Hukill, 192 F.3d at 442. As such, Metropolitan Aviation and Metro Aire

 are not an integrated enterprise for purposes of plaintiff’s employment discrimination claims.




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     Johnson v. Flowers Indus., Inc., 814 F.2d 978, 981 n. * (4th Cir. 1987).

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         The cases cited by plaintiff do not alter this conclusion. These cases are inapposite

 because each of the cases involves members of an integrated enterprise, all of which existed at

 the time of the alleged discrimination. See, e.g., Johnson, 814 F.2d 978 at 978 (parent company

 owned subsidiary before plaintiffs were hired by subsidiary).8 Notably, plaintiff fails to cite to a

 single case holding a newly-formed member of an integrated enterprise liable for the actions that

 another member took prior to the formation of the new member. Put simply, unlike the cases

 plaintiff cites, Metro Aire could not have made the final decisions regarding plaintiff’s

 termination and the allegedly hostile work environment plaintiff experienced because Metro Aire

 did not exist until after plaintiff was terminated from Metropolitan Aviation.

         In an attempt to avoid this conclusion, plaintiff argues that Cook and Lanfrank formed

 Metro Aire in an effort to hide assets from Metropolitan Aviation’s creditors and as such, Metro

 Aire and Metropolitan Aviation are properly considered an integrated enterprise for Title VII

 purposes. But, as explained above, the Fourth Circuit has made clear that the “integrated

 enterprise” theory of liability is meant to allow plaintiffs “to determine what entity made the

 final decisions regarding employment matters related to the person claiming discrimination.”

 Hukill, 192 F.3d at 442.9 This theory of liability is not intended as a tool for plaintiffs to seek

 additional assets from a technically judgment-proof defendant as other mechanisms exist to

 address any such concerns. See, e.g., Va. Code §§ 55-80 (providing that conveyances made with




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   See also, e.g., Deapoli v. Vacation Sales Assocs., LLC, 425 F. Supp. 2d 709, 712 (E.D. Va. 2005) (subsidiary and
 parent company existed together at time of defendants’ allegedly unlawful activity) ; EEOC v. Ecurie Alford, Ltd.,
 1993 U.S. Dist. LEXIS 21735, at * 15 (E.D. Va. July 15, 1993) (“Thus, the facts show that the Alford Corporation,
 Beau Shane, and its successor, Ecurie Alford, were an integrated enterprise at the time of Mrs. Faillers’ discharge.”
 (emphasis added)).
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  This theory of liability is also often used to show that a defendant meets Title VII’s definition of an “employer”
 because the defendant is a member of an integrated enterprise that has fifteen or more employees. See, e.g., Wright,
 2016 WL 1060341, at *21.

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 the “intent to delay, hinder or defraud . . . persons . . . of what they are lawfully entitled to shall .

 . . be void.”).

         In sum, Metro Aire and Metropolitan Aviation cannot be considered an integrated

 enterprise for the purposes of imposing Title VII liability because Metro Aire did not exist at the

 time that Metropolitan Aviation allegedly discriminated against plaintiff.            Given this, it is

 indisputable that Metro Aire did not “ma[ke] the final decisions regarding employment matters

 related to [Plaintiff].” Hukill, 192 F.3d at 442. Accordingly, defendant Metro Aire’s motion for

 summary judgment must be granted.

                                                    V.

         Defendants’ have also moved to consolidate this action with that of Mr. Fiorito. Before

 resolution of the question whether plaintiff’s and Mr. Fiorito’s actions should be consolidated for

 trial, it is necessary to summarize briefly Mr. Fiorito’s claim. Mr. Fiorito has asserted one claim

 of Title VII retaliation against Metropolitan Aviation, Metropolitan Jets, and Cook. Specifically,

 the factual record reveals that on March 9, 2016, the day Cook sent plaintiff’s termination letter,

 plaintiff filed for a protective order against Cook, averring that she was being subjected to sexual

 harassment, assault, and stalking by Cook. The court granted plaintiff’s request for a protective

 order, and the order was served on Cook two days later on March 11, 2016. Mr. Fiorito argues

 that he ultimately was terminated in retaliation for the of his protected activity wife, plaintiff

 here—namely her filing for a protective order on March 9, 2016.

         Rule 42(a), Fed. R. Civ. P. provides that consolidation of actions is appropriate where the

 actions “involve a common question of law or fact[.]” The Fourth Circuit has made clear that in

 considering a motion to consolidate, courts must evaluate

         whether the specific risks of prejudice and possible confusion [are] overborne by the risk
         of inconsistent adjudications of common factual and legal issues, the burden on parties,

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           witnesses and available judicial resources posed by multiple lawsuits, the length of time
           required to conclude multiple suits as against a single one, and the relative expense to all
           concerned of the single-trial, multiple-trial alternatives.

 Arnold v. E. Air Lines, Inc., 681 F.2d 186, 193 (4th Cir. 1982). Notably, the decision whether to

 consolidate actions is solidly within the discretion of the district court. See R.M.S. Titanic, Inc.

 v. Haver, 171 F.3d 943, 959 (4th Cir. 1999) (noting the discretion of the district court under Rule

 42(a)).

           Consideration of these factors reveals that consolidation is appropriate in this case. To

 begin with, plaintiff’s and Mr. Fiorito’s claims involve many common issues of fact. Plaintiff

 here is the estranged spouse of Mr. Fiorito, the plaintiff in the currently separate action. Both

 complaints arise out of the respective plaintiffs’ overlapping periods of employment with

 Metropolitan Aviation from approximately 2012 until 2016. Specifically, plaintiff has adduced

 evidence to suggest that she was subjected to a hostile work environment and wrongfully

 terminated by Cook, the CEO of Metropolitan Aviation, as a result of plaintiff’s and Cook’s

 failed sexual relationship. And, as described above, Mr. Fiorito has adduced evidence that

 around the same time plaintiff was terminated, plaintiff filed for a protective order against Cook

 and shortly thereafter, Mr. Fiorito was also terminated. Thus, in essence, both actions involve

 alleged discrimination and wrongful termination by the same individual—Cook—for the same

 fundamental reason—Cook’s failed relationship with plaintiff.

           And importantly, these overlapping facts are essential to the resolution of the claims in

 each case. Notably, Mr. Fiorito’s retaliation claim depends on the jury finding that plaintiff

 engaged in protected activity when she filed for the protective order. To engage in protected

 activity, an individual must reasonably believe that he or she is opposing unlawful employment

 activity. See DeMasters v. Carilion Clinic, 796 F.3d 409, 418 (4th Cir. 2015) (finding that to be



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 protected under Title VII, the plaintiff’s activity must “concern[] subject matter that is actually

 unlawful under Title VII or that the employee reasonably believes to be unlawful.” (internal

 citations and quotation marks omitted)). Thus, to prevail at trial, Mr. Fiorito must prove that

 when plaintiff filed for a protective order, she reasonably believed that she was opposing

 unlawful employment activity. In this respect, evidence regarding the hostile work environment

 plaintiff was allegedly enduring at Metropolitan Aviation and plaintiff’s ever-changing

 relationship with Cook is directly relevant to whether plaintiff reasonably believed she was

 opposing unlawful activity when she filed for a protective order. Indeed, Mr. Fiorito, himself,

 relied in large part on this evidence of the history of plaintiff’s and Cook’s relationship in

 opposing defendants’ motion for summary judgment in that case.              See David Fiorito v.

 Metropolitan Aviation, et al., No. 1-17-cv-730 (E.D. Va. Feb. 9, 2018) (Doc. 54 at 10-14). In

 sum, a review of the factual record in both cases makes clear that there are several overlapping

 issues of fact that are directly relevant, and indeed essential to, the resolution of the claims in

 each case.

        Moreover, any specific risks of prejudice and possible confusion associated with

 consolidation are outweighed by the burdens on parties of conducting separate trials. On the one

 hand, the risk of prejudice or confusion among the jurors is minimal. Plaintiff contends that

 there is a danger of prejudice given (i) that Mr. Fiorito and plaintiff have raised different claims

 for relief and (ii) that different standards govern plaintiff’s and Mr. Fiorito’s respective claims.

 But this argument is unpersuasive because juries routinely consider and apply the different

 standards applicable in discrimination and retaliation cases. See, e.g., Certain v. Potter, 330 F.

 Supp. 2d 576, 581 (M.D.N.C. 2004) (jury verdict entered in favor of plaintiff on Title VII

 retaliation and hostile work environment claims); Triplett v. N.C. Dep’t of Pub. Safety, 2017 WL



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 3840422, at *1-2 (W.D.N.C. Sept. 1, 2017) (noting that jury found in favor of plaintiff on Title

 VII hostile work environment claim but not on Title VII retaliation claim); Waldo v. Consumers

 Energy Co., 726 F.3d 802, 812 (6th Cir. 2013) (noting that jury returned verdict in favor of

 plaintiff on Title VII retaliation and hostile work environment claims). As such, plaintiff has not

 demonstrated that consolidation would risk prejudice and confusion among jurors that could not

 be remedied by properly instructing the jury as to the law applicable to each of the plaintiff’s

 claims.

           On the other hand, to conduct these trials separately would impose a significant burden

 on the parties, witnesses, and available judicial resources. Significantly, several of the witnesses

 overlap—both trials will likely involve testimony from Cook, Lanfrank, plaintiff, Mr. Fiorito,

 and McCormack. Although there may be other witnesses relevant only to one case, the bulk of

 the testimony will likely originate from these overlapping witnesses. And, as described above,

 the content of the testimony is likely to overlap substantially as Mr. Fiorito, in his summary

 judgment briefing, indicated that the history of plaintiff’s relationship with Cook is relevant to

 Mr. Fiorito’s retaliation claim. Thus, to conduct these trials separately would result in the

 repetition of the same evidence twice, and in so doing, would significantly tax judicial resources

 and an already crowded trial docket.

           Given that there are several, essential overlapping issues of fact in both Mr. Fiorito’s and

 plaintiff’s cases and any specific risk of prejudice or confusion is significantly outweighed by the

 burden on the parties, witnesses, and judicial resources, it is appropriate to consolidate these two

 actions for trial. See Harris v. L & L Wings, 132 F.3d 978, 981 n.2 (4th Cir. 1997) (noting that

 claims of sexual harassment by two former employees, “brought against the same defendant,




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  relying on the same witnesses, alleging the same misconduct, and answered with the same

  defenses, clearly meet [the consolidation] standard.").

         An appropriate Order will issue.



  Alexandria, Virginia
  August 3, 2018


                                                  T. S. Ellis, Ili
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